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 1                             UNITED STATES DISTRICT COURT

 2                                    DISTRICT OF NEVADA

 3 Jason Arthur Altheide,                                Case No.: 2:19-cv-02245-JAD-BNW

 4          Plaintiff

 5 v.                                                 Order Granting Motions to Extend Time

 6 State of Nevada,                                                 [ECF Nos. 6, 7]

 7          Defendant

 8         Good cause appearing, IT IS HEREBY ORDERED that Respondent’s motions to extend

 9 time to respond to the petition for writ of habeas corpus [ECF Nos. 6, 7] are GRANTED.

10 Respondent’s deadline to respond to the petition for writ of habeas corpus [ECF No. 4] is

11 extended to June 15, 2020.

12         Dated: May 15, 2020

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                                                           U.S. District Judge Jennifer A. Dorsey
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